Case 23-11131-TMH   Doc 1197-4   Filed 01/23/24   Page 1 of 28




        EXHIBIT 6
      Case:
       Case22-16632, 02/10/2023,
            23-11131-TMH     Doc ID: 12650472,
                                 1197-4   Filed DktEntry:
                                                01/23/24 22, Page
                                                          Page    1 of
                                                                2 of 2827




                                                   22-16632, 22-16633
                           UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT
    ____________________________________________________________________________________________________________________________________


                                             Andrew E. Roth,
                                    Plaintiff-Appellee-Cross-Appellant,
                                                                    v.
      Foris Ventures, LLC, Vallejo Ventures Trust U/T/A 2/12/96,
              L. John Doerr, Ann Doerr, and Amyris, Inc.,
                  Defendants-Appellants-Cross-Appellees.
__________________________________________________________________
            On Interlocutory Appeal from the United States
               District Court for the Northern District of
                               California
__________________________________________________________________
   BRIEF OF THE SECURITIES AND EXCHANGE COMMISSION,
     AMICUS CURIAE, IN SUPPORT OF NEITHER PARTY AND
              REVERSAL OF THE DISTRICT COURT
__________________________________________________________________

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           Case:
            Case22-16632, 02/10/2023,
                 23-11131-TMH     Doc ID: 12650472,
                                      1197-4   Filed DktEntry:
                                                     01/23/24 22, Page
                                                               Page    2 of
                                                                     3 of 2827




                                         TABLE OF CONTENTS

Table of Authorities ............................................................................................ iii

Interest of the Securities and Exchange Commission and Summary
of Its Position ......................................................................................................... 1

Background ............................................................................................................. 5

                    The Statutory and Rule Provisions at Issue................................... 5

               1.      Section 16(b) of the Securities Exchange Act of 1934 .............. 5

               2.      Rule 16b-3 ....................................................................................... 6

                    The Transactions at Issue Between Foris and Amyris ................ 8

Summary of Argument ...................................................................................... 10

Argument ............................................................................................................. 11

   I.        The Rule 16b-3(d)(1) exemption does not require that the
             board state its purpose in approving officer and director
             transactions ............................................................................................. 11

   II.       The Section 16(b) claim against Foris turns on the factual
             issue regarding whether Foris was a “director by
             deputization.”......................................................................................... 17

Conclusion ............................................................................................................ 20

Certificate of Compliance

Statement of Related Cases




                                                            ii
           Case:
            Case22-16632, 02/10/2023,
                 23-11131-TMH     Doc ID: 12650472,
                                      1197-4   Filed DktEntry:
                                                     01/23/24 22, Page
                                                               Page    3 of
                                                                     4 of 2827




                                    TABLE OF AUTHORITIES

Cases                                                                                                    Page(s)
Blau v. Lehman,
   368 U.S. 403 (1962) ................................................................................... 18, 20

Bruh v. Bessemer Venture Partners III L.P.,
   464 F.3d 202 (2d Cir. 2006) . ........................................................................... 13

Dreiling v. Am. Express Co.,
  458 F.3d 942 (9th Cir. 2006) .................................................................... passim

Dreiling v. Am. Online, Inc.,
  578 F.3d 995 (9th Cir. 2009) .............................................................................. 6

Gryl ex rel. Shire Pharms. Grp. PLC v. Shire Pharms. Grp. PLC,
  298 F.3d 136 (2d Cir. 2002) .................................................................... passim

Gryl ex rel. Shire Pharms. Grp. PLC v. Shire Pharms. Grp. PLC,
  No. 01-9139, 2002 WL 32625905 (2d Cir. 2002) ................................... 10, 12

Kern Cnty. Land Co. v. Occidental Petroleum Corp.,
   411 U.S. 582 (1973) ............................................................................................ 5

Kisor v. Wilkie,
   139 S. Ct. 2400 (2019) ...................................................................................... 14

Levy v. Sterling Holding Co.,
   544 F.3d 493 (3d Cir. 2008) .............................................................................. 7

Magma Power Co. v. Dow Chem. Co.,
  136 F.3d 316 (2d Cir. 1998) .............................................................................. 6

N.Y.C. Emps.’ Ret. Sys. v. SEC,
  45 F.3d 7 (2d Cir. 1995) .................................................................................. 13

Roth ex rel. Beacon Power Corp. v. Perseus L.L.C.,
   522 F.3d 242 (2d Cir. 2008) .................................................................. 2, 18-19


                                                         iii
          Case:
           Case22-16632, 02/10/2023,
                23-11131-TMH     Doc ID: 12650472,
                                     1197-4   Filed DktEntry:
                                                    01/23/24 22, Page
                                                              Page    4 of
                                                                    5 of 2827




Strom v. United States,
   641 F.3d 1051 (9th Cir. 2011) .......................................................................... 19

Statutes
Securities Exchange Act of 1934, 15 U.S.C. 78a, et seq.
    Section 12, 15 U.S.C. 78l ................................................................................ 17
    Section 16(a)(1), 15 U.S.C. 78p(a)(1) ............................................................ 17
    Section 16(b), 15 U.S.C. 78p(b) .............................................................. passim

Rules and Regulations
Federal Rule of Appellate Procedure 29(a) ....................................................... 1
Rules Under the Securities Exchange Act of 1934, 17 C.F.R. 240.0-1, et seq.
    Rule 16b-3, 17 C.F.R. 240.16b-3 ............................................................ passim
    Rule 16b-3(a), 17 C.F.R. 240.16b-3(a) ........................................................... 17
    Rule 16b-3(d), 17 C.F.R. 240.16b-3(d) ................................................... 14, 18
    Rule 16b-3(d)(1), 17 C.F.R. 240.16b-3(d)(1) .......................................... passim

Commission Releases
Ownership Reports and Trading by Officers, Directors and Principal
 Security Holders, Exchange Act Release No. 34-36356,
 60 Fed. Reg. 53832, 1995 WL 605661 (proposed Oct. 17, 1995) ....... 7, 12, 15

Ownership Reports and Trading by Officers, Directors and Principal
 Security Holders, Exchange Act Release No. 34-37260,
 61 Fed. Reg. 30376, 1996 WL 324486 (June 14, 1996) ..................... 2, 6, 8, 18

Ownership Reports and Trading by Officers, Directors and Principal
 Security Holders, Exchange Act Release No. 34-52202,
 70 Fed. Reg. 46080, 2005 WL 1865268 (Aug. 9, 2005) ......................... 7-8, 14




                                                      iv
          Case:
           Case22-16632, 02/10/2023,
                23-11131-TMH     Doc ID: 12650472,
                                     1197-4   Filed DktEntry:
                                                    01/23/24 22, Page
                                                              Page    5 of
                                                                    6 of 2827




Other Authorities
Am. Bar Ass’n, SEC Staff No-Action Letter,
  1999 WL 61837 (Feb. 10, 1999) ............................................................ 3, 10, 16

H.R. Rep. No. 73-1383 (1934) ............................................................................... 5




                                                      v
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page    6 of
                                                                 7 of 2827




 INTEREST OF THE SECURITIES AND EXCHANGE COMMISSION
             AND SUMMARY OF ITS POSITION

      The Securities and Exchange Commission (“Commission” or “SEC”)

submits this amicus curiae brief pursuant to Federal Rule of Appellate

Procedure 29(a) to address important legal issues related to the “short-

swing” trading provision in Section 16(b) of the Securities Exchange Act of

1934, 15 U.S.C. 78p(b). Section 16(b) was enacted to deter corporate

insiders—officers, directors, and beneficial owners of more than 10 percent

of any class of the issuer’s equity securities—from trading in their

companies’ securities on the basis of inside information. Congress viewed

short-swing trading, which is defined as purchases and sales occurring

within a period of less than six months, as posing a particular risk of

misuse of inside information. Thus, Congress provided in Section 16(b)

that any profits realized by the insider from such trading shall inure to and

be recoverable by the issuer.

      Although Section 16(b) actions are brought only by issuers and their

shareholders, Congress delegated to the Commission the responsibility of

formulating rules exempting from Section 16(b) transactions that, in the

Commission’s view, are “not comprehended within the purpose of”


                                       1
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page    7 of
                                                                 8 of 2827




Section 16(b). Id. Pursuant to this authority, the Commission adopted Rule

16b-3(d)(1) to exempt short-swing profits of officers and directors from

transactions that are “approved by the board of directors of the issuer[.]”

17 C.F.R. 240.16b-3(d)(1). The Commission has a strong programmatic

interest in ensuring the proper interpretation of Rule 16b-3, which provides

relief from Section 16(b) for transactions that “the Commission is

persuaded … are not vehicles for the speculative abuse that [S]ection 16(b)

was designed to prevent.” Ownership Reports and Trading by Officers,

Directors and Principal Security Holders, Exchange Act Release No. 34-37260,

61 Fed. Reg. 30376, 30377, 1996 WL 324486, at 30377 (June 14, 1996) (“1996

Adopting Release”); see Roth ex rel. Beacon Power Corp. v. Perseus L.L.C., 522

F.3d 242, 247 (2d Cir. 2008).

      In the underlying action, plaintiff Andrew Roth (“Roth”), a

shareholder of defendant Amyris, Inc., brought Section 16(b) claims

derivatively on behalf of Amyris seeking disgorgement of the short-swing

profits that accrued to defendants L. John Doerr (“Doerr”), an Amyris

director, and his wholly-owned company, Foris Ventures, LLC (“Foris”),

itself a 10 percent beneficial owner of Amyris. Doerr and Foris moved to

dismiss the complaint on the ground that Foris’s profits from its acquisition
                                       2
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page    8 of
                                                                 9 of 2827




of Amyris stock and Doerr’s indirect interest in those transactions were

exempt under Rule 16b-3(d)(1) because the transactions had been approved

by the Amyris board of directors.

      The district court denied the defendants’ motion. Although the court

found that the transactions had been approved by the Amyris board, it

relied on a 1999 interpretive letter written by SEC staff to hold that, under

Rule 16b-3(d)(1), defendants must show “that the approval [wa]s granted

for purposes of making the transaction exempt under Rule 16b-3.”

1-ER-101, Order Granting in Part and Denying in Part Motion to Dismiss

(“Order”) at 9 (citing Am. Bar Ass’n, SEC Staff No-Action Letter, 1999 WL

61837, at *2 (Feb. 10, 1999) (“ABA Letter”)). The district court found that

although the other elements of the Rule 16b-3(d)(1) exemption were met,

there was nothing before the court at this stage of the proceedings that

would establish that the Amyris board acted with the purpose of

exempting the transactions from Section 16(b).

      This interlocutory appeal presents two controlling legal questions.

The first is whether, as the district court held, the Amyris board was


1 “ER” refers to the Excerpts of Record filed by the defendants-appellants-

cross-appellees with their opening brief.
                                     3
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH         ID: 12650472,
                             Doc 1197-4         DktEntry: 22,
                                          Filed 01/23/24      Page
                                                           Page 109ofof28
                                                                        27




required to state that it was approving the transactions with Foris for the

specific purpose of exempting those transactions from Section 16(b). If, as

the Commission urges below, the Amyris board was not required to state

its purpose in approving the transactions, then defendant Doerr’s indirect

pecuniary interests in those transactions should be exempt if the Amyris

board was aware of the existence and extent of his indirect pecuniary

interest in the transaction. Whether there is sufficient evidence to find that

the Amyris board knew of the existence and extent of Doerr’s indirect

pecuniary interest in the transactions when it approved them is a factual

question on which the Commission takes no position.

      The second question is whether that exemption would also cover

Foris’s interests in the transactions, given that Foris does not appear to

have been a named director of Amyris and Rule 16b-3(d)(1) applies only to

officers and directors, not beneficial owners. Whether Foris was a “director

by deputization” is also a factual question on which the Commission takes

no position.




                                       4
        Case:
         Case22-16632, 02/10/2023,
              23-11131-TMH     Doc ID: 12650472,
                                   1197-4   Filed DktEntry:
                                                  01/23/24 22, Page
                                                            Page  1110
                                                                     ofof
                                                                       2827




                                 BACKGROUND

              The Statutory and Rule Provisions at Issue

        1. Section 16(b) of the Securities Exchange Act of 1934

        Section 16(b) of the Securities Exchange Act of 1934 states, in relevant

part:

              For the purpose of preventing the unfair use of
              information which may have been obtained by such
              beneficial owner, director, or officer by reason of his
              relationship to the issuer, any profit realized by him
              from any purchase and sale, or any sale and
              purchase, of any equity security of such issuer (other
              than an exempted security) … within any period of
              less than six months … shall inure to and be
              recoverable by the issuer ….

15 U.S.C. 78p(b). The statute permits an issuer or a shareholder to file suit

in federal court within two years of the date the allegedly prohibited

profits were realized by the beneficial owner, director, or officer. Id.

        Congress enacted Section 16(b) as a “prophylactic rule” to “prevent

corporate insiders from exploiting their access to ‘information not generally

available to others.’” Dreiling v. Am. Express Co., 458 F.3d 942, 946-47 (9th

Cir. 2006) (“Dreiling I”) (quoting Kern Cnty. Land Co. v. Occidental Petroleum

Corp., 411 U.S. 582, 592 (1973)); H.R. Rep. No. 73-1383, at 13 (1934) (Section

16(b) intended to prevent corporate insiders from using “information for

                                          5
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  1211
                                                                    ofof
                                                                      2827




their own advantage”). Section 16(b) “operates mechanically, and makes

no moral distinctions, penalizing technical violators of pure heart, and

bypassing corrupt insiders who skirt the letter of the prohibition.” Magma

Power Co. v. Dow Chem. Co., 136 F.3d 316, 320-21 (2d Cir. 1998); see Dreiling

v. Am. Online, Inc., 578 F.3d 995, 1001 (9th Cir. 2009) (“Dreiling II”) (Section

16(b) “imposes strict liability on insiders, regardless of motive, and

disgorges profits from all short-swing trades[,] even those not actually

based on inside information.”).

      2. Rule 16b-3

      Rule 16b-3 exempts certain categories of “[t]ransactions between an

issuer and its officers or directors[,]” including those that are “approved by

the board of directors of the issuer, or a committee of the board of directors

that is composed solely of two or more Non-Employee Directors[.]” 17

C.F.R. 240.16b-3(d)(1). The rule exempts such transactions because “they

‘do not appear to present the same opportunities for insider profit on the

basis of non-public information as do market transactions by officers and

directors[.]’” Dreiling I, 458 F.3d at 948 (quoting 1996 Adopting Release,

1996 WL 324486, at 30377). This is because “the issuer, rather than trading

markets, is on the other side of an officer or director’s transaction in the
                                        6
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  1312
                                                                    ofof
                                                                      2827




issuer’s equity securities” and “any profit obtained is not at the expense of

uninformed shareholders and other market participants of the type

contemplated by the statute.” Id. (internal quotation marks omitted); see

also Levy v. Sterling Holding Co., 544 F.3d 493, 505 (3d Cir. 2008) (Such

transactions “do[] not present the same informational asymmetry, and

associated opportunity for speculative abuse, that … Congress was

targeting in enacting [S]ection 16(b).”).

      By requiring board approval for each specific transaction, the rule

“ensure[s] that appropriate company gate-keeping procedures are in place

to monitor any grants or awards and to ensure acknowledgement and

accountability on the part of the company when it makes such grants or

awards.” Ownership Reports and Trading by Officers, Directors and Principal

Security Holders, Exchange Act Release No. 34-36356, 60 Fed. Reg. 53832,

53835, 1995 WL 605661, at 53835 (proposed Oct. 17, 1995) (“1995 Proposing

Release”). “The legislative history of Section 16(b) makes it clear that the

‘unfair use of information’ that concerned Congress was insiders’

transactions with investors who were at an informational disadvantage.”

Ownership Reports and Trading by Officers, Directors and Principal Security

Holders, Exchange Act Release No. 34-52202, 70 Fed. Reg. 46080, 46083, 2005
                                       7
         Case:
          Case22-16632, 02/10/2023,
               23-11131-TMH     Doc ID: 12650472,
                                    1197-4   Filed DktEntry:
                                                   01/23/24 22, Page
                                                             Page  1413
                                                                      ofof
                                                                        2827




WL 1865268, at 46083 (Aug. 9, 2005) (“2005 Release”). The rule’s

gatekeeping procedures are thus designed to exempt only transactions

involving parties who do not possess an “inequality of information[,]”

because such inequality “generally does not exist when an officer or

director acquires securities from, or disposes of them to, the issuer.” Id. As

the Commission stated when it adopted a streamlined version of Rule

16b-3 “[b]ased on its experience with the Section 16 rules, the Commission

is persuaded that transactions between the issuer and its officers and

directors … that satisfy [the] objective gate-keeping conditions” of the

revised rule “are not vehicles for the speculative abuse that [S]ection 16(b)

was designed to prevent.” 1996 Adopting Release, 1996 WL 324486, at

30377.

              The Transactions at Issue Between Foris and Amyris

      As the district court explained, 1-ER-3-4, Roth seeks recovery on

behalf of Amyris of Doerr’s and Foris’s short-swing profits from four

transactions between Amyris and Foris spanning April 2019 through

January 2020. In April 2019, Foris paid Amyris $20 million to purchase

shares and warrants to purchase additional shares at a set exercise price for

a two-year term. In July 2019, Foris and Amyris entered into an agreement
                                         8
      Case:
       Case22-16632, 02/10/2023,
            23-11131-TMH     Doc ID: 12650472,
                                 1197-4   Filed DktEntry:
                                                01/23/24 22, Page
                                                          Page  1514
                                                                   ofof
                                                                     2827




to amend an older warrant from August 2018 by lowering the exercise

price, which Roth contends constitutes a cancellation of the August 2018

warrant and re-grant of a new warrant. One month later, Foris and Amyris

entered into a credit agreement that amended two other previously issued

warrants to lower the exercise price. Finally, in January 2020, Foris and

Amyris amended all four pre-existing warrants to lower the exercise price

of each warrant. Roth contends that each amendment constituted a

cancellation of the prior warrant and re-issuance of a new warrant, and

thus each prior warrant was sold at a price equal to the difference between

the exercise price of the cancelled warrant and the exercise price of the new

warrant.

     The district court held that because the amendments reduced Foris’s

purchase price of the underlying shares in the preexisting warrants, Roth

had plausibly alleged that the transactions constituted “purchases” and

“sales” under the Exchange Act. 1-ER-8-9. That issue is not presently

before this Court, and the Commission takes no position on that question

for the purpose of this interlocutory appeal.




                                      9
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  1615
                                                                    ofof
                                                                      2827




                       SUMMARY OF ARGUMENT

      1.    The district court erred in holding that the Rule 16b-3(d)(1)

exemption requires the issuer’s board of directors to state that it is

approving the relevant transaction for the purpose of providing the

exemption. As the Commission has made clear, the plain text of the rule

requires only that the board approve the transaction for the exemption to

apply; a statement of purpose is not required.

      The district court relied on a non-binding interpretive letter written

by SEC staff that would impose further exemptive requirements not found

in the text of the rule. See 1-ER-10 (citing ABA Letter, 1999 WL 61837). But

the Commission rejected the staff’s approach in a subsequent amicus brief.

See Brief of the Securities and Exchange Commission, Amicus Curiae, Gryl

ex rel. Shire Pharms. Grp. PLC v. Shire Pharms. Grp. PLC, 298 F.3d 136 (2d Cir.

2002) (No. 01-9139), 2002 WL 32625905 (“Gryl SEC Amicus Curiae”).

Unlike statements made by SEC staff in interpretive letters, the

Commission’s interpretations of ambiguous rules as set forth in amicus

briefs are controlling so long as the interpretation is not plainly erroneous

or inconsistent with the law.



                                       10
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  1716
                                                                    ofof
                                                                      2827




      2.    Rule 16b-3(d)(1) exempts officer or director transactions, and is

thus not available to beneficial owners like Foris. Foris could avail itself of

the exemption if it can establish that it is an Amyris “director by

deputization,” but that is a fact-dependent inquiry on which the

Commission does not opine.

                                ARGUMENT

I.    The Rule 16b-3(d)(1) exemption does not require that the board
      state its purpose in approving officer and director transactions.

      The district court erred in holding that the Rule 16b-3(d)(1)

exemption did not apply to Doerr’s indirect pecuniary interest in the

Amyris-Foris transactions because the Amyris board of directors did not

“approve[] the transactions for the purposes of making them exempt under

Rule 16b-3.” 1-ER-10-11 (emphasis added). The Court should reverse and

remand with instructions to determine whether Rule 16b-3(d)(1) exempts

Doerr’s indirect pecuniary interest in the transactions absent that

requirement.

      The Commission has rejected the premise of the district court’s

ruling. In Gryl ex rel. Shire Pharms. Grp. PLC v. Shire Pharms. Grp. PLC, 298

F.3d 136 (2d Cir. 2002), the Commission submitted an amicus brief at the


                                       11
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  1817
                                                                    ofof
                                                                      2827




Second Circuit’s request addressing a number of Section 16(b)-related

questions, including whether Rule 16b-3(d)(1) requires purpose-specific

approval. The Commission answered no: “[A] board can, but need not,

specify that it is approving the transaction in order to exempt the grant or

award from Section 16(b). The rule does not contain such a requirement.”

Gryl SEC Amicus Curiae, 2002 WL 32625905, at *24.

      As the Commission explained, the exemption turns on “board

approval, standing alone” because “the basis for the exemption is that

approved grants of securities are likely to be motivated by legitimate

corporate objectives, and not by an attempt to profit from inside

information[.]” Id. In other words, board approval is “critical” because it

demonstrates the company’s “acknowledgement and accountability” for

the transactions. Id. (internal quotation marks omitted); 1995 Proposing

Release, 1995 WL 605661, at 53835 (Board approval “ensure[s]

acknowledgement and accountability on the part of the company.”).

      The Second Circuit agreed with the Commission’s position and held

that “a securities transaction need not receive purpose-specific approval in

order to qualify for the Board Approval Exemption of Rule 16b-3(d)(1).”

Gryl, 298 F.3d at 146; see also id. at 145 (“[T]he text of [Rule 16b-3] itself
                                        12
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  1918
                                                                    ofof
                                                                      2827




contains no suggestion that such a requirement exists” and “the rule …

mentions nothing about the subjective motivations of the approving

body.”). “A requirement of purpose-specific approval would run counter

to the very reason why the Board Approval Exemption was established in

the first place[,]” the court explained, because the exemption was intended

to provide “a simplified, flexible approach” for transactions between an

issuer and an officer or director. Id. Thus,

             [s]o long as the relevant securities transaction is
             between an issuer and insider, and so long as the
             terms and conditions of that transaction receive
             advance approval by the board of directors, there
             exists sufficient protection to ensure that any short-
             swing profit taking that follows is not the result of
             unfair market manipulation.

Id. at 145-46.

      The district court erred in relying on the SEC staff’s 1999 interpretive

letter after the Commission repudiated the staff’s position in the Gryl

amicus brief. Staff interpretive letters “do not bind the SEC, the parties, or

the courts[,]” N.Y.C. Emps.’ Ret. Sys. v. SEC, 45 F.3d 7, 12, 14 (2d Cir. 1995),

but “[t]he views expressed in the Commission’s amicus brief are the views

of the Commission itself and not merely of the staff[,]” Bruh v. Bessemer

Venture Partners III L.P., 464 F.3d 202, 207 n.7 (2d Cir. 2006).
                                       13
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  2019
                                                                    ofof
                                                                      2827




      Thus, while courts defer to the SEC’s interpretations of its own

ambiguous regulations “in its amicus briefs unless they are plainly

erroneous or inconsistent with the regulations, SEC no-action letters

constitute neither agency rule-making nor adjudication and thus are

entitled to no deference beyond whatever persuasive value they might

have[.]” Gryl, 298 F.3d at 145 (citation omitted); see also Kisor v. Wilkie, 139

S. Ct. 2400, 2415 (2019) (courts defer to agency interpretations of ambiguous

regulations); Dreiling I, 458 F.3d at 953 n.11 (finding Commission’s

interpretation of Rule 16b-3(d) as set forth in its amicus brief “controlling”).

And in any event, the Commission’s interpretation of Rule 16b-3(d) as

expressed in its Gryl amicus brief and repeated here is based on the plain

language of the rule, which (as shown) does not contain a purpose-specific

requirement.

      That this case involves Doerr’s indirect pecuniary interest in the

transactions does not alter this conclusion. The rule applies to indirect

interests, but nothing in the language of the rule provides a basis to require

purpose-specific approval when indirect, rather than direct, interests are

involved. See 2005 Release, 2005 WL 1865268, at 46082 & n.35 (Rule 16b-3



                                       14
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  2120
                                                                    ofof
                                                                      2827




exempts “[a]n officer’s or director’s indirect pecuniary interest in

transactions between the issuer and certain other persons and entities.”).

      Note 3 to the rule, however, requires that each specific transaction be

approved to assure that the board focuses on each particular grant or

award, and is accountable for authorizing each one. Since the basis for the

exemption is that approved grants of securities are likely to be motivated

by legitimate corporate objectives, and not by an attempt to profit from

inside information, it is important that the board actually consider each

specific transaction, and that it evidence “acknowledgement and

accountability” as to what it is doing. 1995 Proposing Release, 1995 WL

605661, at 53835. This acknowledgment is critical because board approval,

standing alone, provides the exemption.

      The SEC staff’s ABA Letter advised that in order to satisfy the

specificity requirements of Note 3 to Rule 16b-3 where board approval is

relied upon to exempt an officer’s or director’s indirect interests, “the

approving entity must know and the document evidencing the approval

must specify:

          the existence and extent of the officer’s or director’s indirect

            interest in the transaction; and
                                       15
      Case:
       Case22-16632, 02/10/2023,
            23-11131-TMH     Doc ID: 12650472,
                                 1197-4   Filed DktEntry:
                                                01/23/24 22, Page
                                                          Page  2221
                                                                   ofof
                                                                     2827




          that the approval is granted for purposes of making the

            transaction exempt under Rule 16b-3.”

ABA Letter, 1999 WL 61837, at *2. While, as discussed above, the second

requirement is not supported by the language of the rule, the Commission

agrees with the staff that Note 3 requires the board, in approving a

transaction, to have understood the existence and extent of an officer’s or

director’s indirect pecuniary interest in order to exempt that interest from

potential short-swing profit recovery under Section 16(b). The Commission

does not, however, interpret the rule to require the issuer to acknowledge

the indirect interest in the approval document itself; other evidence of the

board’s knowledge may be used to satisfy this requirement.

      The Commission takes no position on the factual question regarding

whether there is sufficient evidence of the required “acknowledgement and

accountability on the part of” the Amyris board that it knew of the

existence and extent of Doerr’s indirect pecuniary interest in the

transactions when it authorized them.




                                      16
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  2322
                                                                    ofof
                                                                      2827




II.   The Section 16(b) claim against Foris turns on the factual issue
      regarding whether Foris was a “director by deputization.”

      In the Order Granting Defendants’ Motion to Certify the Order for

Immediate Interlocutory Appeal, the district court stated that if this Court

were to hold that there is no “purpose-specific approval” requirement, “the

Rule would apply to the transactions in this case, and the entire case would

be dismissed.” 2-ER-19. That is incorrect. The Section 16(b) claim against

Foris should be dismissed only if Foris is found to be a “director by

deputization,” such that the Rule 16b-3 exemption was available to Foris

and the conditions of that exemption were satisfied. Whether Foris is a

“director by deputization” is a factual issue on which the Commission

takes no position.

      Section 16(b) provides for short-swing profit recovery not only from

officers and directors but also from any “person who is directly or

indirectly the beneficial owner of more than 10 percent of any class of any

equity security (other than an exempted security) which is registered

pursuant to [Exchange Act Section 12].” 15 U.S.C. 78p(a)(1); (b). Rule

16b-3’s exemptions, however, are available only to officers and directors.

17 C.F.R. 240.16b-3(a). The basis for this distinction is that officers and


                                       17
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  2423
                                                                    ofof
                                                                      2827




directors, unlike beneficial owners, are subject to fiduciary duties under

state laws that “create[] potent deterrents to insider self-dealing and other

breaches[.]” 1996 Adopting Release, 1996 WL 324486, at 30377 & n.17. The

rule thus provides a limited exemption to the prophylactic recoupment of

profits under Section 16(b) in narrow circumstances where sufficient

protection already exists because the fiduciary obligations of the

counterparty to the transaction align with the interests of the company and

its shareholders. Accordingly, Foris may qualify for a Rule 16b-3

exemption only if it was an officer or director at the time of the

transactions.

      Foris may satisfy that burden if it were able to establish that Doerr

was a director of Amyris deputized by Foris to act on Foris’s behalf. “The

Supreme Court has recognized that a corporation may be a virtual director,

and thus an insider for purposes of § 16(b) liability, by deputizing a natural

person to perform its duties on the board.” Dreiling I, 458 F.3d at 952

(citing Blau v. Lehman, 368 U.S. 403, 410 (1962)). Such “directors by

deputization are entitled to seek the protection of Rule 16b-3(d) to the same

extent, and on the same terms, as an individual director or officer.” Id. at

953; accord Roth ex rel. Beacon Power Corp. v. Perseus L.L.C., 522 F.3d 242, 247
                                       18
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  2524
                                                                    ofof
                                                                      2827




(2d Cir. 2008). This is so because the “exemption primarily rests on the

safety provided by the issuer’s knowledge of its own affairs—a factor

whose weight is unaffected by whether the person or entity on the other

side of the transaction is a director by deputization rather than an officer or

director.” Perseus, 522 F.3d at 247. That rationale depends upon the issuer

understanding that the person or entity with whom it is transacting is a

director by deputization through a named director. Dreiling I, 458 F.3d at

954.

       Foris is not a named director, and, as the district court determined,

“[n]either the allegations in the complaint, nor those documents of which

judicial notice has been taken, suffice to find as a matter of law that Foris”

is a director by deputization. 1-ER-11. Whether Foris is a “director by

deputization” is “a question of fact to be settled case by case and not a

conclusion of law.” Dreiling I, 458 F.3d at 952 (internal quotation marks

omitted); see also Strom v. United States, 641 F.3d 1051, 1060 (9th Cir. 2011)

(“[T]he applicability of § 16(b) often will turn on factual issues not

appropriately resolved on a motion to dismiss ….”). Foris would be a

“director by deputization” if it “actually functioned as a director through

[Doerr], who had been deputized by [Foris] to perform a director’s duties
                                       19
      Case:
       Case22-16632, 02/10/2023,
            23-11131-TMH     Doc ID: 12650472,
                                 1197-4   Filed DktEntry:
                                                01/23/24 22, Page
                                                          Page  2625
                                                                   ofof
                                                                     2827




not for himself but for [Foris].” Blau, 368 U.S. at 410. The Commission

takes no position on that factual question.

                              CONCLUSION

     For the foregoing reasons, the Court should reverse and remand for

further proceedings.

February 10, 2023                   Respectfully submitted,

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                                      20
       Case:
        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  2726
                                                                    ofof
                                                                      2827




                      CERTIFICATE OF COMPLIANCE

9th Cir. Case Number(s)       22-16632, 22-16633

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        Case22-16632, 02/10/2023,
             23-11131-TMH     Doc ID: 12650472,
                                  1197-4   Filed DktEntry:
                                                 01/23/24 22, Page
                                                           Page  2827
                                                                    ofof
                                                                      2827




                    STATEMENT OF RELATED CASES


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